                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA

IN RE:                                  )
                                        )
JUDICIAL CIVIL FORFEITURE               )     Misc. No. 22-mj-140
                                        )
PROCEEDING                              )     UNDER SEAL
                                        )

                            MOTION TO UNSEAL CASE

      The United States of America hereby gives notice to this Honorable Court

regarding Case 22-mj-140.

      1.      The Court has previously granted motions filed by the United States in

this matter extending the time to file a civil forfeiture complaint as to a 2005 Harley

Davidson FXST motorcycle seized from Jacob Demaio.

      2.      On October 19, 2022, an indictment was filed in the United States

District Court for the Northern District of Iowa against Jacob Demaio, Case No, 22-

CR-1039. A copy of the indictment is attached as Exhibit 1.

      3.      As part of this federal indictment, the United States, pursuant to Rule

32.2 of the Federal Rules of Criminal Procedure, sought the forfeiture of the 2005

Harley Davidson FXST motorcycle seized from Jacob Demaio.

      4.      On January 12, 2022, agents of the Drug Enforcement Administration

(DEA), along with other agents, executed warrants on a property in Galena, Illinois.

As a result of the search, the agents seized a 2005 Harley Davidson FXST

motorcycle from Jacob Demaio.




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      5.      DEA began administrative forfeiture proceedings as to the 2005 Harley

Davidson FXST motorcycle.

      6.      On April 8, 2022, DEA received a timely claim to the 2005 Harley

Davidson FXST motorcycle from Eric McSperrin claiming he was the owner of the

motorcycle seized.

      7.      Because of the pending criminal investigation., the United States filed

two Motions for Extension of Time to file Civil Forfeiture Complaint, (Docs. 3 and

5). which the Court granted, giving the United States until November 7, 2022, to

file a civil complaint as to the 2005 Harley Davidson FXST motorcycle. (Docs. 4 and

6).

      8.      Because the 2005 Harley Davidson FXST motorcycle has been named

in the criminal indictment in Case No, 22-CR-1039, the United States will not seek

to forfeit the motorcycle in a separate civil action.

      9.      18 U.S.C. § 983 (a)(1)(A)(iii) states the government may, in lieu of a

civil judicial forfeiture action, obtain a criminal indictment as to the property

subject to forfeiture and proceed in the criminal case.

      10.     The United States has indicted the property and the criminal case is set

for trial for December 27, 2022, in the United States v. Jacob Demaio, United States

District Court for the Northern District of Iowa.




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         11. Third party interests including those of Eric McSperrin to the

motorcycle are adjudicated as part of the criminal case pursuant to 21 U.S.C.

§ 853(n).

         12.          The United States will take no further action on the 2005 Harley

Davidson FXST motorcycle in the context of any civil action but will resolve any

forfeiture issues in the pending criminal case.

         13.          Because the criminal investigation has resulted in an indictment and

prosecution, the need to require this matter to remain sealed is alleviated. The

United States respectfully requests this matter be unsealed.

         WHEREFORE, the United States files this Notice to the Court to

indicate the government will be taking no further action in seeking a civil forfeiture

complaint as to the 2005 Harley Davidson FXST motorcycle, and that the

government’s forfeiture of this motorcycle will be sought in the pending criminal

case. Further, because the need for this matter to be sealed no longer exists, the

Court should order the proceedings in this matter unsealed.

                                                 Respectfully submitted,

                                                 TIMOTHY T. DUAX
                                                 United States Attorney

                                                 By: /s/ Martin J. McLaughlin

  CERTIFICATE OF SERVICE

 I hereby certify that on November 7, 2022,      MARTIN J. McLAUGHLIN
 I electronically filed the foregoing with the   Assistant United States Attorney
 Clerk of Court using the ECF system which
 will send notification of such filing to the
                                                 111 - 7TH Avenue SE
 parties or attorneys of record.

 UNITED STATES ATTORNEY
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 By: /s/ B. Kilburg




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